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 4
     Attorney for Defendant
 5
     LEONARD WALTER

 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                              SACRAMENTO DIVISION
 9
     UNITED STATES OF AMERICA,                        ) Case No. 2:14-CR-0210 JAM
10                                                    )
                                      Plaintiff,      )
11                                                    )
                                                      ) STIPULATION AND ORDER TO
12           vs.                                      ) CONTINUE STATUS CONFERENCE
                                                      )
13
     JAMES CLINE,                                     )
     LEONARD WALTER,                                  )
14                                                    )
     MICHAEL WRIGHT,                                  )
15                                    Defendants.     )
16
              IT IS HEREBY STIPULATED by the parties, the UNITED STATES OF
17
     AMERICA, through undersigned counsel, Jason Hitt, and Danny Brace, attorney for
18
     James Cline; and Jennifer C. Noble, attorney for Leonard Walter, that the Status
19
     Conference set for Tuesday, February 9, 2016, be continued to Tuesday, March 8, 2016,
20
     at 9:15 a.m.
21
              The parties need additional time to continue negotiations for possible plea
22
     agreements, and counsel for defendants need additional time to investigate potential
23
     issues and defenses, conduct research related to the charges, consult with their clients
24
     regarding potential resolutions, to prepare pretrial motions, and to otherwise prepare
25
     for trial.
26
              Therefore, counsel for the parties stipulate and agree that the interests of justice
27
     served by granting this continuance outweigh the best interests of the defendants and
28


                                                       1
     Stipulation and Proposed Order                                       Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
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 1   the public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of
 2   counsel/reasonable time for effective preparation) and Local Code T4, and agree to
 3   exclude time from the date of the filing of the order until the date of the status
 4   conference, Tuesday, March 8, 2016.
 5

 6   Dated: February 4, 2016                           Respectfully submitted,
 7
                                                       By: /s/ Jennifer C. Noble
 8                                                     JENNIFER C. NOBLE
                                                       Attorney for Defendant
 9                                                     LEONARD WALTER
10
     Dated: February 4, 2016                           By: /s/ Danny Brace
11                                                     DANNY BRACE
                                                       Attorney for Defendant
12                                                     JAMES CLINE
13
     Dated: February 4, 2016                           Benjamin B. Wagner
14                                                     United States Attorney
                                                       By: /s/ Jason Hitt
15                                                     JASON HITT
                                                       Assistant U.S. Attorney
16

17

18
                                              ORDER
19

20            GOOD CAUSE HAVING BEEN SHOWN, and pursuant to the stipulation of the

21   parties, the Status Conference presently set for February 9, 2016, in the above-captioned

22   case, is rescheduled for Tuesday, March 8, 2016, at 9:15 a.m.

23   IT IS SO ORDERED.

24
     Dated: 2/4/2016
25                                                     /s/ John A. Mendez________
                                                       HON. JOHN A. MENDEZ
26
                                                       U.S. DISTRICT COURT JUDGE
27

28


                                                   2
     Stipulation and Proposed Order                                     Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
